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Nos. 25-1555 through 25-1578; 25-1580 through 25-1593; 25-1676; and 25-1677
                                  (Consolidated)


               IN THE UNITED STATES COURT OF APPEALS
                       FOR THE THIRD CIRCUIT


 ATLAS DATA PRIVACY CORP., AS ASSIGNEE OF INDIVIDUALS WHO ARE
COVERED PERSONS; JANE DOE 1, A LAW ENFORCEMENT OFFICER; JANE DOE
    2, A LAW ENFORCEMENT OFFICER; EDWINMAL DONADO; SCOTT
   MALONEY; JUSTYNA MALONEY; PATRICK COLLIGAN; PETER
               ANDREYEV; AND WILLIAM SULLIVAN,

                                                PLAINTIFFS / APPELLEES,

                              v.

                         WE INFORM LLC, ET AL.

                                           DEFENDANTS / APPELLANTS.


               On Appeal from the United States District Court
                          for the District of New Jersey


                   APPELLEES’ RESPONSE TO
              MOTION TO REFER CASE TO MEDIATION




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      On May 5, 2025 certain Appellants jointly moved this Court for an Order to

Refer the cases in the consolidated appeals1 to mediation. As Appellees advised

Appellants prior to the motion, Appellees do not oppose the motion as long as the

expedited appeals are not stayed or adjourned.

      Appellants wrongfully disclosed the home addresses and unlisted phone

numbers of law enforcement officials and their families. Many are still doing so

today. If a mediation can forge a way to stop those harmful practices for good, then

Appellees are interested in doing so.

      Of course, the purpose of Appellants’ appeal is to nullify the statute and allow

disclosures.

      Mediation efforts need not slow down the judicial resolution of the Appeals.

Date: May 7, 2025                       Respectfully submitted,

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1562, 25-1563, 25-1564, 25-1565, 25-1567, 25-1568, 25-1569, 25-1570, 25-1571,
25-1572, 25-1573, 25-1574, 25-1575, 25-1576, 25-1577, 25-1578, 25-1580, 25-
1581, 25-1582, 25-1583, 25-1584, 25-1585, 25-1586, 25-1587, 25-1588, 25-1589,
25-1590, 25-1591, 25-1592, 25-1676, and 25-1677
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                      CERTIFICATE OF COMPLIANCE

      Pursuant to Rule 32(g) of the Federal Rules of Appellate Procedure, and Local

Appellate Rule 31.1, I hereby certify that:

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App. P. 32(a)(7)(B), because, according to the word count of the word-processing

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Dated: May 7, 2025                              s/ Rajiv D. Parikh
                                                  Rajiv D. Parikh




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                         CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing with the Clerk of the

Court for the United States Court of Appeals for the Third Circuit by using the

appellate CM/ECF system on May 7, 2025.

Dated: May 7, 2025                            /s/ Rajiv D. Parikh
                                                  Rajiv D. Parikh




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